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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 90
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                                           UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF RHODE ISLAND



              STATE OF NEW YORK; et al.,

                               Plaintiffs,

                      v.                                              C.A. No. 1:25-cv-00039-JJM-PAS

              DONALD TRUMP, in his official capacity as
              President of the United States; et al.,

                               Defendants.



                                             DECLARATION OF WAYNE PROPST
                             I, Wayne Propst, declare as follows:

                     1.      I am a resident of the Commonwealth/State of New Mexico. I am over the age of

            18 and have personal knowledge of all the facts stated herein, except for those matters stated

            upon information and belief; as to those matters, I believe them to be true. If called as a witness,

            I could and would testify competently to the matters set forth below.

                     2.      I have been the Cabinet Secretary for the New Mexico Department of Finance and

            Administration (“DFA”) since January 2023. I oversee the State’s finances, including budgeting,

            financial planning, financial reporting, payroll, financial controls, administrative services, and

            general fiscal oversight.

                     3.          As the Cabinet Secretary for DFA, I have personal knowledge of the matters

            set forth below or have gained knowledge based on my review of information and records

            gathered by my staff.




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                     4.      DFA serves New Mexico through fiscal management support for state agencies,

            local government, and community-based programs to achieve responsible and quality fiscal

            services for all New Mexicans.

                     5.      For the fiscal year ending June 30, 2024 (“FY24”), the State of New Mexico’s total

            budget was twenty-six billion six hundred fifty-nine million dollars ($26,659,000,000). This

            budget consisted of fifteen billion four hundred fifty-nine thousand dollars ($15,459,000,000) in

            State-funded spending and eleven billion two hundred million ($11,200,000) in direct aid from the

            Federal government.

                     6.      For the current fiscal year ending on June 30, 2025 (“FY25”), the State of New

            Mexico’s total budget was twenty-eight billion nine hundred seventy-six million dollars

            ($28,976,000,000). This budget consists of sixteen billion nine hundred twenty-three million

            dollars ($16,923,000,000) in State-funded spending and twelve billion fifty-three million dollars

            ($12,053,000,000) in direct aid from the Federal government.

                     7.      Direct aid from the Federal Government accounted for forty-two percent (42%) of

            the State of New Mexico Budget in FY 24 and forty-one and three-fifths percent (41.6%) for FY

            25.

                     8.      Direct aid from the Federal Government funds key programs and initiatives

            throughout the state, including unemployment insurance, Medicaid, temporary assistance for

            needy families (TANF), and vocational rehabilitation programs.

                     9.      Sixty-eight (68) State agencies receive Federal funding and have included this

              funding within their budgets for FY 25.

                     10.     This includes entities like the Department of Workforce Solutions (FY 25 -

              $89,800,000 [72% of its budget]), which administers unemployment insurance; the Department



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              of Children, Youth, and Families (FY 25 – $95,400,000 [25% of its budget]), who provide family

              services, behavioral health services, and juvenile justice services to communities in New Mexico;

              the Early Childhood Education and Care Department (FY 25 - $147,000,000 [19 % of its budget]),

              which provides cohesive, equitable, and effective programs from prenatal to five; the Department

              of Health (FY 25 – $175,000,000 [32% of its budget]), performs a wide range of duties that

              formulate a statewide public health system for New Mexicans; and the Department of

              Transportation (FY 25 - $558,000,000 [44% of its budget]).

                     11.     The State of New Mexico currently has three billion one hundred sixty-four million,

              two hundred four thousand three hundred sixteen dollars ($3,164,204,316) in reserve. The State

              expends seven hundred nine million twenty-one thousand four hundred thirty dollars

              ($709,021,430) per month. At this rate, without the anticipated Federal funding, the State will

              deplete its reserve cash balances within five (5) months.

                     12.     Since February 2, 2025, the New Mexico Energy, Minerals, and Natural Resources

              Department has been denied reimbursement under three grant agreements (Grant No.

              S24AF00001-00; Grant No. S24AF00087-00; Grant No. S23AF00017-00) to the tune of four

              hundred forty-two thousand four hundred eighty-seven dollars and sixty-six cents ($442,487.66).

                     13.     These grants are used for programs established under the Infrastructure Investment

              and Jobs Act of 2022, Public Law No. 117-58 (IIJA). The State of New Mexico has expended

              these funds with the expectation of reimbursement, but according to Andrew Lubner, the Grants

              Branch Manager, Western Region, Office of Surface Mining Reclamation and Enforcement,

              Department of the Interior Regions 5, 7-11, “IIJA grants are suspended in ASAP at this time.”

                     14.     This suspension and any further pause, blocking, denial, or delay in federal funding

              will have immediate and catastrophic effects on the State of New Mexico’s finances, including



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              its FY 25 Budget and existing debt portfolio. Additionally, any delays in receipt of Federal

              funding will jeopardize the services the State provides to its citizens, including essential services,

              unemployment insurance, and Medicaid.



                   I declare under penalty of perjury that the foregoing is true and correct.


                             Executed this 4th day of February 2025 in Santa Fe, New Mexico.




                                                             _____________________________________
                                                                   Wayne Propst




                                                               4
